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Form: ICB-12001-01 rev. 01

   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in compliance with D.N.J. LBR 9004-2(c)
                                                                           Order Filed on July 18, 2024
   Andrew B. Finberg                                                       by Clerk
   Chapter 13 Standing Trustee                                             U.S. Bankruptcy Court
   Cherry Tree Corporate Center                                            District of New Jersey
   535 Route 38, Suite 580
   Cherry Hill, NJ 08002-2977




   In Re:                                                Case No.:           24-11258 (JNP)

          Donna M Schild                                 Hearing Date:       07/17/2024

                                                         Judge:          Jerrold N. Poslusny Jr.
                                            Debtor(s)




                                   ORDER CONFIRMING CHAPTER 13 PLAN




The relief set forth on the following pages, numbered two(2) through four(4) is hereby

ORDERED.




  DATED: July 18, 2024
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    The plan of the debtor having been proposed to the creditor, and a hearing having been held

on the Confirmation of such Plan, and it appearing that the applicable provision of the

Bankruptcy Code have been complied with; and for good cause shown, it is




ORDERED that the plan of the above named debtor, dated 02/09/2024, or the last amended plan

of the debtor be and it is hereby confirmed. The Standing Trustee shall make payments in

accordance with 11 U.S.C. § 1326 with funds received from the debtor; and it is further




ORDERED that the debtor shall pay the Standing Trustee, Andrew B. Finberg, the sum of

$410.00 for a period of 51 months beginning immediately, which payment shall include

commission and expenses of the Standing Trustee in accordance with 28 U.S.C. § 586, together

with $7,640.00 paid to date.




ORDERED that debtor shall pay.

100% to timely filed non-priority unsecured claims, or claims allowed pursuant to an order of the

Court.

ORDERED that the debtor's attorney be and hereby is allowed a fee of $4,750.00. The unpaid

balance of the allowed fee in the amount of $4,750.00 plus costs of $0.00 shall be paid to said

attorney through the Chapter 13 plan by the Standing Trustee.
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ORDERED that if the debtor should fail to make plan payments for a period of more than 30

days, the Standing Trustee may file, with the Court and served upon the debtor and debtor's

counsel, a Certification of Non-Receipt of Payment and request that the debtor's case be

dismissed. The debtor shall have fourteen days within which to file with the Court and serve

upon the Trustee a written objection to such Certification.




ORDERED that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13

Standing Trustee may submit an Amended Order Confirming Plan upon notice to the debtor(s),

debtor(s)' attorney and any other party filing a Notice of Appearance.




ORDERED that the Standing Trustee shall be authorized to submit, ex-parte an Amended Order

Confirming Order, if required, subsequent to the passage of the claims bar date(s) provided

under Fed.R.Bank. P.3002.




ORDERED that if the debtor has provided for a creditor to be paid in the plan and no Proof of

Claim is filed by such creditor before expiration of the applicable bar date, the debtor pursuant to

F.R.B.P. 3004, must file a Proof of Claim on behalf the creditor within 30 days of the expiration

of the applicate bar date. If the time period pursuant to F.R.B.P. 3004 has expired, the debtor

must file a Proof of Claim on behalf of the creditor and file a motion to allow the Trustee to pay

the late filed claim, or the debtor may obtain a Consent Order with the creditor authorizing the

Trustee to pay an amount certain in the plan .
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ORDERED that the Standing Trustee is authorized to pay post-petition claims filed pursuant to

11 U.S.C. §1305(a), in the amount filed by the post-petition claimant.




ORDERED that upon completion of the plan, affected secured creditors shall take all steps

necessary to remove of record any lien or portion of any discharge.




ORDERED that the debtor consents to pay secured claims as filed, with reservation of rights to

challenge the claims.




ORDERED that any post-confirmation appreciation in the estate of the debtor be used for the

benefit of the unsecured creditors.




ORDERED that any funds accrued to a creditor who has not filed a timely proof of claim be

used for the benefit of the unsecured creditors.




ORDERED as follows:

  Total plan length of 56 months.
